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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

____________________________________
                                    )
ENSOCARE INC.,                      )
                                    )
            Plaintiff               )
                                    )
            v.                      )                           Case No. 5:20-cv-00306-MTT
                                    )
ENSOCARE: HOLISTIC MENTAL           )
HEALTH SERVICES LLC,                )
                                    )
            Defendant               )
____________________________________)


                         DEFENDANT’S MEMORANDUM OF LAW
                        IN SUPPORT OF ITS MOTION TO DISMISS
                    PURSUANT TO FED. R. CIV. P. 12(b)(1) AND/OR 12(b)(6)


        Defendant Ensocare: Holistic Mental Health Services LLC respectfully submits this

Memorandum of Law in Support of its Motion to Dismiss.

        In the Complaint, Plaintiff makes statements alleging infringement of U.S. Trademark

Registration No. 4414693 (the “Stylized Ensocare Mark”). While the Plaintiff alleges that it owns

the Stylized Ensocare Mark, the conclusive evidence provided by Plaintiff’s Exhibit A explicitly

shows that the Stylized Ensocare Mark is owned by a different entity, necessitating that Plaintiff

does not have standing and that this Court does not have subject matter jurisdiction. As a result of

Plaintiff’s lack of ownership, the Plaintiff also fails to state a cause of action upon which relief can

be granted to it.




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        Additionally or alternatively, as discussed herein, Plaintiff attempts to state a claim under

15 U.S.C. § 1114 for infringement of a stylized federal trademark registration when its own

allegations necessitate that such a claim cannot exist.

        For at least the reasons set forth herein, Defendant respectfully requests that the Court

dismiss the entire action under Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter

jurisdiction and/or Rule 12(b)(6) for failure to state a claim upon which relief can be granted.

                                      LEGAL ARGUMENT

   I.        This Court does not have Subject Matter Jurisdiction and this case must be
             dismissed pursuant to Fed. R. Civ. P. 12(b)(1).

   A. Standard of Review
        "Federal courts are courts of limited jurisdiction." Federated Mut. Ins. Co. v. McKinnon

Motors, LLC, 329 F.3d 805, 807 (11th Cir. 2003). A party invoking federal jurisdiction thus "bears

the burden of establishing its existence." Parker v. Scrap Metal Processors, Inc., 386 F.3d 993,

1003 (11th Cir. 2004). Accordingly, the Federal Rules of Civil Procedure require a pleading to

contain “a short and plain statement of the grounds for the court's jurisdiction”. Fed. R. Civ. P.

8(a)(1).

        Whether a plaintiff has standing to assert a particular claim is a "threshold question in every

federal case." CAMP Legal Defense Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1269 (11th Cir.

2006). "[S]tanding cannot be `inferred argumentatively from averments in the pleadings,' but rather

`must affirmatively appear in the record.'" FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231, 110

S.Ct. 596, 608, 107 L.Ed.2d 603 (1990).

        "To bring a trademark infringement claim under the Lanham Act, a plaintiff must hold a

valid trademark." Natural Answers, Inc. v. SmithKline Beecham Corp., 529 F.3d 1325, 1329 (11th

Cir.2008); see also Gaia Technologies, Inc. v. Reconversion Technologies, Inc., 93 F.3d 774, 777

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(Fed.Cir.1996) (holding that a party lacks standing to assert a trademark infringement claim

"[a]bsent ownership of the intellectual property"). If a plaintiff lacks standing to bring an action,

subject matter jurisdiction is absent and the court must dismiss the case. Bochese v. Town of Ponce

Inlet, 405 F.3d 964, 974-75 (11th Cir. 2005); see also Fed. R. Civ. P. 12(h)(3) (“If the court

determines at any time that it lacks subject-matter jurisdiction, the court must dismiss the action.”)

   B. Dismissal of this case is required pursuant to Fed. R. Civ. P. 12(b)(1) because Plaintiff
      has not provided the required statement of grounds for subject matter jurisdiction
      and because the record affirmatively establishes that this court lacks subject matter
      jurisdiction as a matter of law because Plaintiff does not own the Stylized Ensocare
      Mark.

       Plaintiff identifies itself as “Ensocare, Inc. (‘Ensocare’)” and alleges that it “is the

registered owner of its stylized trademark ‘ENSOCARE,’ Registration No. 4414693[.]” Complaint

at ¶ 5. However, the record established by Plaintiff’s Exhibit A (attached to and incorporated

within the Complaint) explicitly and affirmatively indicates that such an assertion is not plausible

on its face because a different entity is the registered owner of the Stylized Ensocare Mark. Thus,

subject matter jurisdiction is not present under these circumstances. See FW/PBS, Inc., 493 U.S.

at 231, 110 S.Ct. at 608 (subject matter jurisdiction cannot be “inferred argumentatively from

averments in the pleadings,” but rather “must affirmatively appear in the record").

       According to Plaintiff’s Exhibit A, attached to and incorporated within the Complaint, the

Registrant and Current Owner is Twilightliving.com, Inc., a corporation incorporated in the State

of Washington. Plaintiff’s Exhibit A also shows that the same Registrant, Twilightliving.com, Inc.,

filed a combined Section 8 & 15 Declaration on April 30, 2019, which was accepted by the USPTO

on July 11, 2019.

       Normally, registration of a mark is prima facie evidence of the identified owner's

ownership of the mark. 15 U.S.C. § 1057(b). However, when a registrant files a declaration of



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incontestability under Section 15, the resulting incontestable registration is “conclusive evidence”

that the registrant owns the mark. 15 U.S.C. § 1115(b).

       Applying these well understood concepts to the facts set forth in Plaintiff’s Exhibit A,

registration of the Stylized Ensocare Mark on October 8, 2013 was prima facie evidence that

Twilightliving.com, Inc., a Washington corporation, owned the Stylized Ensocare Mark on

October 8, 2013. Furthermore, when Twilightliving.com, Inc. filed a declaration of incontestability

under Section 15 on April 30, 2019, the USPTO’s acceptance of the same was conclusive evidence

that Twilightliving.com, Inc. owned the mark on April 30, 2019. Thus, the Plaintiff’s own evidence

serves as both prima facie evidence and conclusive evidence that Plaintiff was not and is not the

registered owner of the Stylized Ensocare Mark.

       Furthermore, even if Plaintiff acquired the Stylized Ensocare Mark sometime after the

April 30, 2019 declaration of incontestability filed by Twilightliving.com, Inc., and before August

4, 2020, when the instant action was filed, Plaintiff would have no right to sue for alleged

infringement that began in July 2018, which is necessarily before the Plaintiff could have acquired

the mark in May 2019. See Thompson v. Does 1-5, 376 F. Supp. 3d 1322, 1327 (N.D. Ga. 2019)

(“It would defy principles of standing and causation for a trademark plaintiff to assert infringement

of a trademark right that he did not have at the time the alleged infringement occurred simply

because he later acquired the rights to the infringed mark.”)

       In light of the above and based on Plaintiff’s Complaint and Exhibit A attached thereto,

this Court should dismiss this action pursuant to Fed. R. Civ. P. 12(b)(1) as a matter of law.




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    II.      Plaintiff has failed to state a claim upon which relief can be granted and this
             Court should dismiss the Complaint pursuant to Fed. R. Civ. P. 12(b)(6).

    A. Motion to Dismiss Standard

          The Federal Rules of Civil Procedure require a pleading to contain a "short and plain

statement of the claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2).

          To avoid dismissal pursuant to Fed. R. Civ. P. 12(b)(6), a complaint must contain sufficient

factual matter to "`state a claim to relief that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). "[C]onclusory allegations, unwarranted

deductions of facts or legal conclusions masquerading as facts will not prevent dismissal."

Wiersum v. U.S. Bank, N.A., 785 F.3d 483, 485 (11th Cir. 2015) (internal quotation marks and

citation omitted). "[W]here the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct, the complaint has alleged — but it has not `show[n]' — `that the

pleader is entitled to relief.'" Iqbal, 556 U.S. at 679, 129 S.Ct. 1937 (quoting Fed. R. Civ. P.

8(a)(2)).

          Ultimately, the complaint must "give the defendant fair notice of what the ... claim is and

the grounds upon which it rests." Twombly, 550 U.S. at 555, 127 S.Ct. 1955 (internal quotation

marks and citation omitted). "To survive a motion to dismiss, plaintiffs must do more than merely

state legal conclusions; they are required to allege some specific factual bases for those conclusions

or face dismissal of their claims." Jackson v. BellSouth Telecomm., 372 F.3d 1250, 1263 (11th

Cir.2004).




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    B. In the event that this Court does not view the Plaintiff’s lack of ownership as a
       standing issue involving subject matter jurisdiction, it should instead dismiss Claim I
       under Fed. R. Civ. P. 12(b)(6) for failing to state a statutory cause of action.

        "[A] statutory cause of action extends only to plaintiffs whose interests `fall within the zone

of interest protected by the law invoked.'" Lexmark Int'l, Inc v. Static Control Components, Inc.,

572 U.S. 118, 129, 134 S.Ct. 1377, 188 L.Ed.2d 392 (2014). "The initial burden is upon the

complainant to establish its cause of action." Jazz Photo Corp. v. ITC, 264 F.3d 1094, 1102

(Fed.Cir.2001).

        In the case of alleged trademark infringement, the cause of action is only provided to

owners of the mark. See Wal-Mart Stores, Inc. v. Samara Brothers, Inc., 529 US 205, 209 (2000)

(“Registration of a mark under § 2 of the Lanham Act, 15 U. S. C. § 1052, enables the owner to

sue an infringer under § 32, 15 U. S. C. § 1114”) (emphasis added); see also 15 U.S.C. § 1114

(“Any person who shall, without of the consent of the registrant - [perform infringing acts] shall

be liable in a civil action by the registrant…” (emphasis added).

        As set forth above, the Plaintiff is not the owner and has affirmatively shown that another

entity is the registered owner of the Stylized Ensocare Mark. Without an ownership interest in an

allegedly infringed mark, the Plaintiff has no cause of action pursuant to section 35 U.S.C. § 1114,

let alone a “plausible claim for relief.” For at least this reason, this Court should dismiss the

Complaint pursuant to Fed. R. Civ. P. 12(b)(6) for failing to state a claim upon which relief can be

granted to the Plaintiff.

    C. The Weak Stylized Ensocare Mark cannot be asserted against non-competitor
       Defendant.

        The Complaint includes allegations pertaining to the Stylized Ensocare Mark

(                           ) that has “the letter ‘O’ not being a solid circle but having burst strokes.”

See Complaint at ¶ 5.

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       Previous courts have determined that similar usage of the letter “O” in a mark results in a

weak mark that is afforded a narrow scope and very limited protection. See, e.g.,

       Star Indus., Inc. v. Bacardi & Co., 412 F.3d 373, 383 (2d Cir. 2005):

                “the extent of stylization [of the letter “O”] was marginal at best. The
               outline of the ‘O,’ though not uniform, is ordinary in its slightly varying
               width, and the interior and exterior borders are also ordinary. The result is
               a "thin" or weak mark, which will be entitled to only limited protection.”;

       One Industries, LLC v. Jim O’Neal Distributing, 578 F. 3d 1154, 1165 (9th Cir.
       2009):

               “In the absence of evidence of actual confusion or intent to deceive, we
               decline to grant O'Neal a virtual monopoly on the use of the letter "O" on
               motorcycle helmets. The mere fact that the two companies are direct
               competitors and happen to use the same letter on their products is not
               sufficient to show infringement.”; and

       Brockmeyer v. The Hearst Corporation, 248 F. Supp. 2d 281, 296 (S.D. NY 2003):

               “The only common element of the marks used by the plaintiff and the
               defendants is the use of the letter "O". However, simply because they
               contain this common element does not mean that they are "similar" for the
               purpose of assessing confusion under the Polaroid factors.”

       The weak Stylized Ensocare Mark cannot be asserted against non-competitors. See

American Intern. Group, Inc. v. American Intern. Bank, 926 F.2d 829, 836, 17 U.S.P.Q.2d 1907

(9th Cir. 1991) (“Strong marks are sometimes protected against use on noncompeting goods; weak

marks never are.”) (citing 3A R. Callman, supra p. 835, Sec. 20.43, at 345 ("Only a strong mark

will be protected against the defendant's use on noncompeting goods.")); see also ChiChi's Inc. v.

Chi-Mex., Inc., 568 F.Supp. 731, 736, 221 U.S.P.Q. 906 (W.D. Pa. 1983) (“A weak mark will

protect only similarly marketed goods, whereas a strong mark may be applied to protect

noncompeting products”); see also Bobak Sausage Co. v. A & J Seven Bridges, Inc., 805

F.Supp.2d 503, 518 (N.D.Ill. 2011) ("If the mark is weak, its protection may have an `extremely

narrow scope'; and may indeed be limited to similar goods similarly marketed. Only the strong

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mark will be protected against infringements arising out of its use in connection with non-

competing goods.") (quoting Telemed Corp. v. Tel-Med, Inc., 588 F.2d 213, 219 (7th Cir.1978)).

       In its Complaint, Plaintiff alleges that it and Defendant are not competitors, with Plaintiff

providing services to hospitals and medical care providers, and Defendant allegedly providing

services to different customers. See Complaint at ¶¶ 4, 17, & 19. Given that the Stylized Ensocare

Mark is a weak mark, the protection afforded from the same cannot extend to Defendant’s

noncompeting services. Accordingly, the present action should be dismissed because the weak

Stylized Ensocare Mark cannot be asserted against noncompetitor Defendant. Because Plaintiff

attempts to do exactly what it cannot, the Plaintiff’s claim should be dismissed pursuant to Fed. R.

Civ. P. 12(b)(6).

   D. Plaintiff has failed to properly allege the elements of a cause of action under 15 U.S.C.
      § 1114.

       A cause of action under 15 U.S.C. § 1114 requires the Plaintiff to plead that the Defendant,

(1) without the Registrant’s consent, (2) used a reproduction, counterfeit, copy or colorable

imitation of a registered mark in commerce and in connection with the sale, offering for sale,

distribution, or advertising of any goods or services in such a way that is likely to cause confusion

or mistake. See 15 U.S.C. § 1114(1)(a).

       1. Defendant has not done anything without the Registrant’s consent.

       Plaintiff does not make any allegations that Defendant has done anything without the

Registrant’s consent. See generally Complaint. Instead, Plaintiff alleges that it “sent a cease and

desist demand letter to [Defendant] via email and mail on August 15, 2019.” Complaint at ¶ 13.

Plaintiff acknowledges that the Defendant immediately took affirmative steps to avoid any issues

with Plaintiff, even though not legally required to do so, including on “[t]he very next day, August

16, 2019, [Defendant] filed with the Georgia Secretary of State a name change.” Complaint at ¶

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14. Thereafter, Plaintiff does not allege that it made any actions or conveyed any correspondence

to Defendant between August 2019 and August 2020, when the present action was filed. See

generally Complaint.

        Plaintiff’s allegations evidence Plaintiff’s request for action by Defendant, a name change

completed by Defendant within 24 hours of such a request, and a year of no correspondence or

activity thereafter. At the very least, these allegations dictate an implied license as a matter of law.

See Menendez v. Holt, 128 U.S. 514, 524, 9 S.Ct. 143, 145, 32 L.Ed. 526 (1888) (“consent by the

owner to use of his trademark by another is to be inferred from his knowledge and silence”).

        An implied license can be revocable at will. See Coach House Restaurant v. Coach and

Six Restaurants, 934 F. 2d 1551, 1563 (11th Cir. 1991). However, Plaintiff has made no assertions

that anything was done or communicated to Defendant since August 2019 to revoke the implied

license. Thus, the implied license existed and continued up to the filing date of this action, August

4, 2020.

        In order for Plaintiff to properly state a claim for trademark infringement, the Defendant’s

allegedly infringing activities must have occurred after termination of the implied license and prior

to commencement of the present action. Here, because the allegations set forth in the Plaintiff’s

Complaint necessitate that the implied license existed and continued until August 4, 2020,

Plaintiff’s claim for trademark infringement fails as a matter of law. See Professional Golfers Ass'n

of America v. Bankers Life & Casualty Co., 514 F.2d 665, 670 (5th Cir. 1975) (only use subsequent

to a terminated license can constitute infringement). Accordingly, this Court should dismiss the

Complaint and this action with prejudice.




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       2. Plaintiff cannot allege a cause of action under 15 U.S.C. § 1114 because Defendant
          has not used a reproduction, counterfeit, copy or colorable imitation of the
          Stylized Ensocare Mark.

       Plaintiff pleads the following:

               •      Defendant “uses ‘Ensocare’ to brand its offering of electronic healthcare
               services that can be accessed and scheduled online once an account is created.”
               Complaint at ¶ 17. The cited Exhibit D shows the following “branding”:




               •       Defendant has a Facebook page that “shows that life coaching is made
               available through e-learning courses, all labeled under the infringing ‘Ensocare’
               label.” Complaint at ¶ 19. The cited Exhibit F shows the following “labeling”:




       The alleged “branding” and the alleged “labeling” shown above are not reproductions,

counterfeits, copies, or colorable imitations of the Stylized Ensocare Mark (                         )

that has “the letter ‘O’ not being a solid circle but having burst strokes.” See Complaint at ¶ 5.1

       While pursuing its trademark application, the registrant of the Stylized Ensocare Mark

disclaimed a solid circle “O”. See Complaint at ¶ 5 (“the letter ‘O’ not being a solid circle but


1
 In the Complaint, the Plaintiff does not allege that Defendant has reproduced, counterfeit,
copied, or made a colorable imitation of a registered mark. See generally Complaint. As shown
herein, the Defendant’s alleged “branding” and “labeling” are not identical to the Stylized
Ensocare Mark and therefore are not reproductions, counterfeits, or copies of the same, as a
matter of law. See, e.g., 15 U.S.C. § 1127 (“A “counterfeit” is a spurious mark which is identical
with, or substantially indistinguishable from, a registered mark.”). Plaintiff seems to concede the
same, and instead alleges that Defendant used “variations” of the Stylized Ensocare Mark. See
Complaint at ¶ 24.
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having burst strokes.”). Even if Plaintiff and Defendant were competitors and the weak Stylized

Ensocare Mark could be asserted against Defendant, the alleged “variations” are not colorable

imitations of the Stylized Ensocare Mark. Namely, neither the alleged “branding” nor “labeling”

utilize the claimed letter “O” that is “not being a solid circle” – instead, both of the Defendant’s

“branding” and “labeling” utilize the very “solid circle” that was disclaimed in and excluded from

the Stylized Ensocare Mark.

       Thus, because the registrant of the Stylized Ensocare Mark cannot assert rights to the

disclaimed and excluded subject matter, the alleged “branding” and “labeling” cannot be colorable

imitations of the Stylized Ensocare Mark, and a cause of action cannot be asserted regarding the

same. See In re Wada, 194 F.3d 1297, 1301 (Fed.Cir.1999) (Disclaiming components prevents the

applicant from asserting exclusive rights in the disclaimed components). The allegations set forth

in the Complaint necessitate the absence of a claim upon which relief may be granted and this

action should be dismissed with prejudice pursuant to Fed. R. Civ. P. 12(b)(6).

    E. Plaintiff cannot prevent Defendant from using its lawfully obtained business name.

       Ultimately, Plaintiff’s claim is not one seeking remedy for infringement of a stylized

federal trademark registration, but is instead one attempting to prevent Defendant from using its

lawfully obtained business name.2 See Complaint at ¶ 25 (“[Defendant]’s conduct constitutes

infringement… in at least any of the following ways: … [u]sing ‘Ensocare’ in its name …

continuing to use ‘Ensocare’ in relation to mental healthcare services … [u]sing ‘Ensocare’ as part

of its domain name … [and] [a]ll other use of ‘Ensocare’”).




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 Additionally, although not legally required, Defendant’s name was changed in August 2019 in
good faith to obviate this present action. See Complaint at ¶ 14.
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       As a stylized mark, the Stylized Ensocare Mark necessarily offers less protection than a

standard character mark. Importantly, the Stylized Ensocare Mark does not allow the registrant to

prevent other entities from inserting “Ensocare” into their legally obtained business names. If

Plaintiff truly “provides its services to clients throughout the United States, including providing

services to clients in Georgia” – as it alleges (Complaint at ¶ 8) - it could have and should have

registered its business name and/or trade name in Georgia, which would have prevented Defendant

from being able to lawfully select its past and present business names. However, based on

Plaintiff’s allegations, Defendant was the first to lawfully register its business name in Georgia.

Accordingly, Plaintiff cannot now utilize a stylized trademark registration to prevent Defendant

from having a similarly named entity lawfully registered to do business in Georgia. Because

Plaintiff now attempts to do that which the stylized registration does not permit, this matter should

be dismissed with prejudice pursuant to Fed. R. Civ. P. 12(b)(6).

   F. This Court should dismiss Plaintiff’s Claim II pursuant to Fed. R. Civ. P. 12(b)(6)
      because it fails to state any cause of action and instead merely requests a remedy of
      injunctive relief.

       Claim II is in its entirety a request for injunctive relief. See Complaint at ¶¶ 28-32.

       It is well settled that injunctive relief is a remedy, and not a cause of action. See, e.g.,

Benavides v. Gartland, No. 5:20-cv-46, (S.D. Ga. April 18, 2020) and Brown v. Bank of America,

NA, No. 2:12-CV-00132-RWS, FN 3 (N.D. Ga. Feb. 19, 2013) (both citing Alabama v. U.S. Army

Corps of Engineers, 424 F.3d 1117, 1127 (11th Cir. 2005)).

       Acccordingly, Claim II should be dismissed for failing to state a cause of action.
                                         CONCLUSION

       As discussed herein, Plaintiff’s attempt to plead a federal trademark claim fails as a matter

of law. Accordingly, Defendant respectfully requests dismissal of this action with prejudice

pursuant to Fed. R. Civ. P. 12(b)(1) and/or 12(b)(6).

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Dated: September 7, 2020                                   Respectfully submitted,

                                                           Steven Stewart LLC
                                                           By: /s/ Steven Stewart
                                                           Steven Stewart
                                                           Georgia Bar No. 719301

                                                           Attorney for Defendant
                                                           Ensocare: Holistic Mental
                                                           Health Services LLC


                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on this 7th day of September, 2020, the foregoing document

was electronically filed using the CM/ECF system, which will send notification of such filing to

all counsel and parties of record.

       Dated: September 7, 2020

                                                           /s/ Steven Stewart
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